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Podsiadlo, Kathryn

From:                Michael Gallant <michael.gallant@drlawllp.com>
Sent:                Thursday, February 17, 2022 8:05 AM
To:                  Podsiadlo, Kathryn; John Dalimonte; John Restaino
Cc:                  Cousins, Alexander; Douglas, Matthew J.; Alison Bimba; Rhett Reeves;
                     zzz.External.allyson.emley@icemiller.com; zzz.External.katherine.althoff@icemiller.com; du Pont, Julie
                     K.; Brown, Arthur E.; zzz.External.diana.surprenant@arlaw.com;
                     zzz.External.paige.sensenbrenner@arlaw.com; Chris Coffin
Subject:             RE: Baudin v. AZ: Expert Deposition Dates

Follow Up Flag:      Follow up
Flag Status:         Completed



External E‐mail

Good morning Kathryn,

We are able to confirm that Dr. Mjones will be available for deposition on March 21, and that we can offer Dr. Waldum
on March 24, which I think will meet your request concerning the timing of these depositions.

Concerning Mr. Baudin’s slides, we would like those forwarded to me once your expert has completed his review of
them. Are you able to estimate when that might be accomplished?

I will respond shortly concerning other matters raised in your recent email.

Mike

From: Podsiadlo, Kathryn <Kathryn.Podsiadlo@arnoldporter.com>
Sent: Wednesday, February 16, 2022 7:11 PM
To: John Dalimonte <john@drlawllp.com>; John Restaino <restaino@drlawllp.com>; Michael Gallant
<michael.gallant@drlawllp.com>
Cc: Cousins, Alexander <Alexander.Cousins@arnoldporter.com>; Douglas, Matthew J.
<Matthew.Douglas@arnoldporter.com>; Alison Bimba <alison.bimba@drlawllp.com>; Rhett Reeves
<rhett.reeves@drlawllp.com>; allyson.emley@icemiller.com; katherine.althoff@icemiller.com; du Pont, Julie K.
<Julie.duPont@arnoldporter.com>; Brown, Arthur E. <Arthur.Brown@arnoldporter.com>;
diana.surprenant@arlaw.com; paige.sensenbrenner@arlaw.com
Subject: RE: Baudin v. AZ: Expert Deposition Dates



[EXTERNAL EMAIL] DO NOT CLICK links or attachments unless you recognize the sender and know the content is safe.


Dear John, John & Mike –

I hope all is well. Attached please find a letter detailing some discovery-related issues that have
emerged as a result of Plaintiff’s (1) expert disclosure; and (2) supplemental production of documents
and supplemental answers to interrogatories. As discussed in our letter, we are also serving a

                                                             1

                                                                                                                 EXHIBIT 6
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discrete set of discovery, attached here, relating to the serum gastrin test Mr. Baudin ordered
because we did not get the opportunity to question him about it during his deposition.

Additionally, can you please let me know if you were able to get new dates for the depositions of Drs.
Waldum and Mjones as requested below.

Please let us know if you want to discuss any of the issues set forth in our letter. Otherwise, we look
forward to your responses. Have a nice evening!

Thank you,
Kathryn

_______________
Kathryn Podsiadlo
Senior Associate

Arnold & Porter
777 South Figueroa Street | 44th Floor
Los Angeles, CA 90017‐5844
T: +1 213.243.4273 | F: +1 213.243.4199
Kathryn.Podsiadlo@arnoldporter.com | www.arnoldporter.com
From: Podsiadlo, Kathryn
Sent: Thursday, February 10, 2022 1:34 PM
To: 'John Dalimonte' <john@drlawllp.com>; Brown, Arthur E. <Arthur.Brown@arnoldporter.com>
Cc: Cousins, Alexander <Alexander.Cousins@arnoldporter.com>; Douglas, Matthew J.
<Matthew.Douglas@arnoldporter.com>; Michael Gallant <michael.gallant@drlawllp.com>; John Restaino
<restaino@drlawllp.com>; Alison Bimba <alison.bimba@drlawllp.com>; Rhett Reeves <rhett.reeves@drlawllp.com>;
zzz.External.allyson.emley@icemiller.com <allyson.emley@icemiller.com>; zzz.External.katherine.althoff@icemiller.com
<katherine.althoff@icemiller.com>; du Pont, Julie K. (Julie.duPont@arnoldporter.com)
<Julie.duPont@arnoldporter.com>
Subject: RE: Baudin v. AZ: Expert Deposition Dates

Hi John,

Thanks for providing these dates. We accept the following dates:

Alfred Neugut             Friday April 1, 2022

Nacer Abrouk               Tuesday, April 5, 2022

William Hrushsky          Thursday April 14, 2022

Josh Sharlin               Thursday, April 21, 2022

We need to depose Dr. Mjones at least two days before Dr. Waldum, so please offer new dates for
both accordingly. It is our position that we are entitled to depose Dr. Mjones before Dr. Waldum given
that he relies on her report and analysis of the pathology for his case specific opinions.

Additionally, please note that we will not produce our experts for deposition until your expert
depositions have concluded.

Please let us know if you want to discuss further.

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Thank you in advance,

Kathryn

_______________
Kathryn Podsiadlo
Senior Associate

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T: +1 213.243.4273 | F: +1 213.243.4199
Kathryn.Podsiadlo@arnoldporter.com | www.arnoldporter.com
From: John Dalimonte <john@drlawllp.com>
Sent: Wednesday, February 9, 2022 2:57 PM
To: Brown, Arthur E. <Arthur.Brown@arnoldporter.com>
Cc: Cousins, Alexander <Alexander.Cousins@arnoldporter.com>; Douglas, Matthew J.
<Matthew.Douglas@arnoldporter.com>; Podsiadlo, Kathryn <Kathryn.Podsiadlo@arnoldporter.com>; Michael Gallant
<michael.gallant@drlawllp.com>; John Restaino <restaino@drlawllp.com>; Alison Bimba <alison.bimba@drlawllp.com>;
Rhett Reeves <rhett.reeves@drlawllp.com>
Subject: Baudin v. AZ: Expert Deposition Dates

 External E‐mail

Arthur,

Below are the dates we have confirmed with each witness below with the exception of Patricia Mjones. We believe,
however, that date should work for her.

Helge Waldum               Wednesday March 23, 2022

Patrica Mjones            Thursday March 24, 2022

Alfred Neugut             Friday April 1, 2022

Nacer Abrouk               Tuesday, April 5, 2022

William Hrushsky          Thursday April 14, 2022

Josh Sharlin                 Thursday, April 21, 2022


Very truly yours,

John A. Dalimonte, Esq.
Managing Partner
Licensed in MA and DC




75 State Street, Suite 100
Boston, MA 02109
                                                              3
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